
USCA1 Opinion

	











            
                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

            No.  97-1139

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                               LUIS A. ALICEA-CARDOZA,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Salvador E. Casellas, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                               Cyr, Senior Circuit Judge,
                                    ____________________
                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

                Rafael Anglada-Lopez for appellant.
                ____________________

                Miguel A.  Pereira-Castillo, U.S. Department  of Justice,
                ___________________________
            with whom Guillermo  Gil, United States Attorney, and Jose A.
                      ______________                              _______
            Quiles-Espinosa, Senior Litigation Counsel, were on brief for
            _______________
            appellee.

                                 ____________________

                                  December 19, 1997
                                 ____________________























                      LYNCH,  Circuit  Judge.    A  cocaine  distribution
                      LYNCH,  Circuit  Judge.
                              ______________

            conspiracy  out of the Virgilio D vila Public Housing Project

            in Bayam n,  Puerto Rico led to the  indictment of thirty-six

            defendants.  Twenty-five  pled guilty either before  trial or

            shortly after trial started.  Eight defendants were  tried to

            verdict, five were acquitted.

                      Luis Alicea-Cardoza,  nicknamed "Burbuja",  was one

            of the three convicted and  now appeals.  His main contention

            is that  the jury, confronted  with a maze of  defendants and

            drug  and violence  evidence, convicted  him  when there  was

            precious little evidence,  too little, he says,  to support a

            conviction.   The little  evidence  there was,  he says,  was

            based on beeper  transmissions and this court,  which has not

            previously addressed  the question, should find  those beeper

            records erroneously  admitted.   Although Alicea-Cardoza  has

            ably  argued  these  and  ancillary  points,  we  affirm  his

            conviction under  21 U.S.C.    841  and  the drug  conspiracy

            statute,  21 U.S.C.     846,  and his  sentence  of 27  years

            imprisonment.

                                          I
                                          I

                      Because the  defendant attacks  the sufficiency  of

            the  evidence,  we review  the  evidence  in the  light  most

            favorable to the  verdict, with a view to  whether a rational

            juror could have found guilt  beyond a reasonable doubt.  See
                                                                      ___

            United States v. Cruz, 981 F.2d 613, 615 (1st Cir. 1992).  
            _____________    ____



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                      Interception  of telephone  messages in  April 1994

            confirmed  that Jorge  Solano-Moreta  was  in  charge  of  an

            organization selling drugs, principally  cocaine, at numerous

            drug  points  in  Bayam n,  including a  drug  point  at  the

            Virgilio D vila Housing Project.  Alicea-Cardoza had acted as

            a "runner" (meaning that he managed the business operation by

            receiving, accounting  for, and safeguarding the  proceeds of

            drug sales)  for a  Virgilio D vila  drug  point since  1992.

            Approximately  four kilograms of cocaine were sold monthly at

            that  drug  point.   Alicea-Cardoza  was  also  a runner  for

            another  drug point in  the Virgilio D vila  Housing Project.

            There, approximately  one half of a kilogram  of cocaine base

            was sold monthly. 

                      The  evidence  implicating  Alicea-Cardoza  in  the

            conspiracy consisted  principally of  the testimony  of Amiud

            Alicea-Mat as and charts of intercepted  beeper messages sent

            to Solano-Moreta by Alicea-Cardoza.  Alicea-Mat as  testified

            that  he was  part  of  a drug  selling  organization at  the

            Virgilio  D vila Housing Project known as the Virgilio D vila

            group,  which sold cocaine, crack, and heroin.  Alicea-Mat as

            said he ran several drug points and was a trigger man for the

            group.  He  testified that the members of  the group included

            Luis Rosario-Rodr guez,  Richard Rosario-Rodr guez  and Edwin

            Rosario-Rodr guez (three brothers who ran the  group), Felipe

            Garc a-Roque, as well  as defendant "Luis Alicea,  [and] some



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            people  who are confined in state institutions."  When asked,

            " . . .  do you know if  Ruiz [sic] Alicea has a  nickname or

            nicknames," Alicea-Mat as responded,  "Burbuja".  When  asked

            whether  "Luis Alicea-Cardoza,  also  known as  Burbuja"  was

            seated  in the  courtroom,  Alicea-Mat as identified  Alicea-

            Cardoza.  And  when asked "How many Burbujas  worked for this

            organization or  group,"  Alicea-Mat as responded,  "Just one

            Burbuja."   "Burbujas"  means "Bubbles"  and  members of  the

            jury,  applying  their  common  experience  of  Puerto  Rican
                   

            society, could reasonably have regarded it as an unusual male

            nickname.  No evidence was  presented to suggest that another

            "Burbuja" may have been involved in this organization.

                      Alicea-Mat as  testified that  the Virgilio  D vila

            group and  Solano-Moreta "established  a solid  relationship"

            during 1992 and 1993 to  help each other fight "wars" against

            competing  groups  for  control  of  the  local  drug  trade.

            Solano-Moreta and  the Virgilio  D vila group  would meet  to

            discuss drug points and plan attacks  against enemies of both

            groups,  pooling their  resources "in  order  to be  strong."

            They also did  business with each other:   Solano-Moreta sold

            kilos of  drugs to the  Virgilio D vila group, which  in turn

            sold  the  drugs  throughout   the  Virgilio  D vila  Housing

            Project.   In addition,  the Virgilio D vila  group collected

            money for Solano-Moreta at drug  points owned by him and took

            the money to  him.  They even committed  murders with Solano-



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            Moreta to enforce their control over the drug trade.  The two

            groups developed a "frequent and close friendship" and "[met]

            on many occasions."  When asked who attended these  meetings,

            Alicea-Mat as responded:

                      Richard Rosario-Rodr guez, Edwin Rosario-
                      Rodr guez, I, Willy Nariz, [Jorge] Solano
                      Moreta, Perla.   When [Jorge] would  come
                      down  to  the   Virgilio  D vila  Housing
                      Project,   Luis   Rosario-Rodr guez   was
                      there.    Luis  Rosario-Rodr guez  [sic],
                                _______________________________
                      alias Burbuja,  and several  other people
                      _____________
                      who are jailed at the state institution.1

            (emphasis added).

                      In addition to  this testimony, Alicea-Cardoza  was

            implicated  by  charts  the  government  prepared  of  beeper

            messages.  These charts recorded the content of approximately

            four  thousand messages received  between April 26,  1995 and

            June 5, 1995  by Solano-Moreta on his beepers.   The messages

            were  intercepted  by   federal  agents  pursuant   to  court

            authorization.   Special Agent Gilberto Vazquez, who directed

            the investigation, testified that the charts transcribing the

            messages  sent  to  Solano-Moreta  were  produced  by  a  pen

            register,  which  intercepted the  messages  sent  to Solano-

            Moreta's beeper and printed them out.  Vazquez also testified

            that  he  tested  the pen  register  system  for  accuracy by

                                
            ____________________

            1.  Alicea-Mat as seemed to have mistakenly repeated the name
            Luis Rosario-Rodr guez.   The jury could have  concluded this
            was  an  inadvertent  mistake,  rather  than  evidence  of  a
            different "Burbuja", especially  in light of  Alicea-Mat as's
            direct   identification  of   Alicea-Cardoza   as  the   real
            "Burbuja".

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            checking its results against the messages received by a clone

            beeper, an  exact replica of  Solano's beeper.   He testified

            that the  pen register and clone beeper  received exactly the

            same messages received by Solano-Moreta.

                      Several hundred  of the  messages to  Solano-Moreta

            recorded  in the beeper charts  were from "Burbuja".  Typical

            were messages  asking Solano-Moreta  to call  "Burbuja" at  a

            certain  phone  number  or messages  leaving  a  phone number

            accompanied by "Burbuja, Urgente."  Some messages referred to

            obtaining  "work".      Vazquez  testified   that,   in   his

            considerable experience  investigating drug gangs,  these and

            other  messages received  by Solano-Moreta involved  the drug

            trade.

                      Of  the five members  of the Virgilio  D vila group

            who  originally  went  to   trial,  only  Alicea-Cardoza  was

            convicted.

                                          II
                                          II

                      Alicea-Cardoza claims  the district  court admitted

            the beeper charts without proper authentication under Fed. R.

            Evid. 901, that the evidence  was insufficient to support his

            conviction,  and  that  he  was  subject  to  a  constructive

            amendment to the indictment.

            A.  Beeper Charts
                _____________

                      Under Fed.  R.  Evid. 901(a),  "The requirement  of

            authentication or identification as a condition precedent  to



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            admissibility is satisfied by  evidence sufficient to support

            a finding that  the matter in question is  what its proponent

            claims."   Fed. R. Evid. 901(a).   To establish authenticity,

            the   proponent  need   not   rule  out   "all  possibilities

            inconsistent with  authenticity, or .  . .  prove beyond  any

            doubt  that the evidence is what  it purports to be.  Rather,

            the standard for authentication, and hence for admissibility,

            is  one  of   reasonable  likelihood."    United   States  v.
                                                      _______________

            Holmquist, 36 F.3d  154, 168 (1st Cir. 1994).   Generally, if
            _________

            the   district  court  is  satisfied  that  the  evidence  is

            sufficient  to allow  a  reasonable  person  to  believe  the

            evidence is what it purports  to be, Rule 901(a) is satisfied

            and  the  jury  may  decide  what weight  it  will  give  the

            evidence.   See id. at  167.  Because  authentication rulings
                        ___ ___

            are  necessarily fact specific,  we review such  rulings only

            for mistake of law or abuse of discretion.  See id.  
                                                        ___ ___

                      The  district court did not abuse its discretion in

            admitting the beeper charts as  a record of the messages sent

            to  Solano-Moreta's beeper.  Vazquez adequately explained the

            means by which the pen  register intercepted and recorded the

            beeper  messages,  and  how the  clone  beeper  confirmed the

            accuracy of  that system.   Asked by the prosecution  how the

            beeper charts had been produced, Vazquez responded, "It  is a

            machine known as a pen register.  As the message comes in the

            pen register just annotates or writes exactly  what comes out



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            on the beeper."   Vazquez explained clone beepers.   "A clone

            is an exact replica  of a beeper.   If I was going to  have a

            clone to my beeper and you had it,  you would receive exactly

            the  same message  that I  get."   Vazquez testified  that he

            carried a  clone of Solano-Moreta's  beeper for about  a week

            during the intercept period.  Asked whether Vazquez found any

            difference between the  written messages produced by  the pen

            register  and those  received by  the  clone beeper,  Vazquez

            responded,  "No  difference."     This   testimony  was   not

            contradicted or challenged by the defense. 

                      Alicea-Cardoza's  argument is  that  the charts  of

            these phone  calls were  not  properly authenticated  because

            there was  no evidence  that Alicea-Cardoza  was in  fact the

            person who  left  the  messages.   Defendant  relies  on  the

            general rule that  self-identification by a speaker  alone is

            not  sufficient authentication.  See United States v. Puerta-
                                             ___ _____________    _______

            Restrepo, 814  F.2d 1236, 1239 (7th Cir. 1987); United States
            ________                                        _____________

            v.  Pool, 660 F.2d 547, 560 (5th Cir.  Unit B Nov. 1981).  We
                ____

            agree that, under Puerta-Restrepo and Pool, the beeper charts
                              _______________     ____

            could not  be authenticated  under Rule  901 were  they being

            offered for the sole purpose of identifying Alicea-Cardoza as

            the "Burbuja" who sent the messages.  

                      Here,  however,  the   government's  evidence  only

            showed the  beeper  messages that  Solano-Moreta himself  had

            received, not who specifically had sent them.   This is not a



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            case of  the jury being asked to take  on faith that a caller

            was who the witness  said the caller was.  Rather, the charts

            were introduced  for the  different purpose  of proving  that

            Solano-Moreta  received these messages on his beeper, and the

            beeper  charts plainly constitute  an accurate record  of the

            messages that  Solano-Moreta received.  As Vazquez testified,

            a beeper decodes  a digital message which it  displays on its

            screen,  e.g., "Call Burbuja."   The pen  register intercepts

            that message and records  it, over time producing  a complete

            record  of all  messages sent  to  that beeper.   That  these

            beeper charts  produced by the  pen register are  an accurate

            record of  the messages  sent to  Solano-Moreta's beeper  was

            established by the  testimony of Vazquez, who  explained that

            the beeper  charts were checked  against a  clone beeper  and

            that there was no difference between the two.  This testimony

            was sufficient to  authenticate the beeper charts  as records

            of the messages sent to Solano-Moreta's beeper.  

                      Whether  the "Burbuja"  who  sent the  messages was

            Alicea-Cardoza  is a separate question not within the purview

            of Rule 901.  The  jury had to decide on its own, taking into

            account other evidence, some  direct and some circumstantial,

            whether Alicea-Cardoza  was "Burbuja".  Given  that evidence,

            the jury reasonably  established that "Burbuja" was  a member

            of the  drug ring  and that "Burbuja"  was, in  fact, Alicea-

            Cardoza.



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                      It is true that someone who was not "Burbuja" could

            have  been leaving  the messages  or that  some other  person

            named  "Burbuja" left the  messages.  Alicea-Cardoza  did not

            make  such a  contention  at trial,  but  if he  had,  such a

            contention  does not  go  to whether  the  beeper charts  are

            properly authenticated.   The jury could still  have assessed

            the weight  of the evidence  in light of that  contention and

            made a judgment accordingly.   In sum, whether the  "Burbuja"

            who sent the messages  is in fact Alicea-Cardoza,  or perhaps

            some other  "Burbuja", is a  separate matter for the  jury to

            decide.  

                      As for the  whether the charts  were authenticated,

            the standard of  reasonable likelihood was satisfied  in this

            case.

            B.  Sufficiency
                ___________

                      Thus,  we turn to the question whether the evidence

            in  this  case  is  sufficient  to  support  Alicea-Cardoza's

            conviction.  In assessing a sufficiency challenge, we "review

            the record to  determine whether the evidence  and reasonable

            inferences therefrom, taken as a  whole and in the light most

            favorable to the prosecution, would allow a rational jury  to

            determine  beyond a reasonable  doubt that the  defendant was

            guilty as charged."  United  States v. Fulmer, 108 F.3d 1486,
                                 ______________    ______

            1490  (1st Cir. 1997)  (citations, internal  quotation marks,

            and alterations omitted).  



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                      Taking  the   beeper  charts   and  Alicea-Mat as's

            testimony together, we conclude the  evidence was sufficient.

            Alicea-Mat as's  testimony  identifies  Alicea-Cardoza  as  a

            member  of the  Virgilio  D vila group  and  links the  drug-

            related  enterprises of that group to those of Solano-Moreta.

            The testimony establishes that  Alicea-Cardoza was "Burbuja".

            The  beeper charts  demonstrate that  "Burbuja" had  frequent

            contact with Solano-Moreta.   And the jury could easily  find

            that  these  communications involved  matters related  to the

            manufacture and sale of drugs.  While it is possible that the

            "Burbuja"  who   sent  those  messages   was  indeed  another

            "Burbuja",  or that Alicea-Cardoza and Solano-Moreta had only

            a non-criminal  relationship, the  jury was  not required  to

            accept either  of these conclusions.   To  the contrary,  the

            evidence  clearly  suggests that  Alicea-Cardoza  was closely

            involved with Solano-Moreta in the drug trade, and is plainly

            sufficient to sustain the conviction.  

                      That the jury did not also convict other members of

            the Virgilio  D vila group  based  solely on  Alicea-Mat as's

            testimony does  not undercut this  conclusion.  The  jury may

            well have regarded Alicea-Mat as's  testimony as insufficient

            to  prove  the  guilt  of those  other  defendants  beyond  a

            reasonable doubt, but  this does not mean,  as Alicea-Cardoza

            argues,  that  we   must  therefore  accord   Alicea-Mat as's

            testimony no  weight in considering  this sufficiency  claim.



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            The jury could reasonably have  found, as indeed it did, that

            Alicea-Mat as's testimony  in  conjunction  with  the  beeper

            charts  proved  Alicea-Cardoza's  guilt  beyond a  reasonable

            doubt.

            C.  Constructive Variance
                _____________________

                      Alicea-Cardoza claims  that his  conviction amounts

            to a constructive variance of  the indictment in that (1) the

            indictment charges  him with being  a triggerman, but  he was

            tried for  being a  runner, and (2)  the evidence  showed the

            existence of multiple  conspiracies, while Alicea-Cardoza did

            not participate in the conspiracy for which he was convicted.

            Variances  between the indictment and the evidence ultimately

            proved  against a  single defendant  may be  common when  the

            government prosecutes large criminal  enterprises in a single

            trial.   See United States  v. Glenn, 828  F.2d 855, 858 (1st
                     ___ _____________     _____

            Cir. 1987).  When constructive variance is  alleged on appeal

            in a conspiracy case, under Glenn the following questions are
                                        _____

            asked: 

                      (1) Is the  evidence sufficient to permit
                      a  jury  to find  the (express  or tacit)
                      agreement  that  the  indictment charges?
                      (2)  If not, is it sufficient to permit a
                      jury, under a proper set of instructions,
                      to convict  the defendant  of a  related,
                      similar conspiracy?  (3)  If so, does the
                      variance    affect    the     defendant's
                      substantial rights or does the difference
                      between  the charged  conspiracy and  the
                      conspiracy  proved  amount  to  "harmless
                      error?

            Id.  
            ___


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                      As to the  first test, the evidence permits  a jury

            to find that  Alicea-Cardoza did conspire with  Solano-Moreta

            to distribute drugs and that  he was an active participant in

            that enterprise.  Indeed, the beeper charts show that Alicea-

            Cardoza  and Solano-Moreta  were  in frequent  communication.

            Accordingly,  that Alicea-Cardoza  was indicted  for  being a

            conspirator/triggerman   but  the   evidence  proved   him  a

            conspirator/runner   does   not    constitute   impermissible

            variance.  "So  long as the  statutory violation remains  the

            same,  the jury  can  convict  even if  the  facts found  are

            somewhat  different than  those  charged --  so  long as  the

            difference does not cause unfair prejudice.  United States v.
                                                         _____________

            Twitty, 72  F.3d 228,  231 (citing Glenn,  828 F.3d  at 858).
            ______                             _____

            There is  no unfair prejudice  in this case.   Alicea-Cardoza

            had notice that he was under indictment for being involved in

            the Solano-Moreta  drug organization,  and he  knew that  his

            central defense  needed to be  that he was  not part  of that

            organization  --  as a  triggerman, runner,  or in  any other

            capacity.  The error in the indictment was not so grave as to

            cause  Alicea-Cardoza to defend himself on the wrong grounds,

            especially  when the evidence adduced at trial showed Alicea-

            Cardoza   to  be   deeply  involved   in  the   Solano-Moreta

            organization. 

                                         III
                                         III

                      The sentencing appeal  is also without merit.   The



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            court assigned Alicea-Cardoza a base offense level of thirty-

            eight under  U.S.S.G.    2D1.1 for  conviction of  an offense

            involving at least 1.5 kilograms  of cocaine base.  The court

            increased  the offense  level by  two points  to forty  under

            U.S.S.G.      2D1(b)(1),  adopting   the   findings  of   the

            presentence report that weapons  were used by  Alicea-Cardoza

            in furtherance  of  the conspiracy.   The  court declined  to

            adopt the recommendation  of the presentence report  to raise

            Alicea-Cardoza's offense level by an additional three points,

            rejecting the  report's  finding that  Alicea-Cardoza  had  a

            managerial  role  in the  conspiracy.    The court  found  an

            imprisonment  range of  324  to  405  months,  and  sentenced

            Alicea-Cardoza to 324 months in prison, including a statutory

            minimum of ten years in jail under 21 U.S.C.   841(b)(1)(A).

                      The  government  has  the burden  of  proving  drug

            quantity by a fair preponderance of the  evidence, see United
                                                               ___ ______

            States v. Morillo, 8 F.3d 864, 871, and amply  met its burden
            ______    _______

            here.  The evidence shows that the Solano-Moreta organization

            was  a major  drug distribution  network  buying and  selling

            hundreds of  kilograms of  cocaine and  cocaine base  through

            various drug points,  including those at the  Virgilio D vila

            Housing  Project.  The evidence shows that Alicea-Cardoza was

            a runner for those drug points at Virgilio D vila.  According

            to  the presentence report, Alicea-Cardoza "ran" a drug point

            at  which approximately four  kilograms of cocaine  were sold



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            monthly, he "ran"  another drug point at  which approximately

            one half  kilogram of cocaine  base was sold monthly.   Given

            this  evidence, the  district court did  not commit  error in

            assigning Alicea-Cardoza a base offense level of thirty-eight

            for  committing an offense involving 1.5 kilograms of cocaine

            base. This  evidence at  trial is  sufficient to sustain  the

            offense level.    As to  Alicea-Cardoza's attack  on the  two

            point increase in his offense level  for use of a weapon, the

            evidence at trial shows that Alicea-Cardoza was armed when he

            served as a  watchman for drug points in  the Virgilio D vila

            Housing Project.  This is sufficient to sustain the increase.

                      The judgment of the district court is affirmed.





























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